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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:09CR48
                              )
          v.                  )
                              )
ISIDRO DUARTE-ANDRADE,        )             ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED that defendant’s motion under 28 U.S.C.

§ 2255 to vacate, set aside or correct sentence by a person in

federal custody (Filing No. 140) is denied.

           DATED this 25th day of January, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
